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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

____________________________________
UNITED STATES OF AMERICA,            )
                                     )
             Plaintiff,             )
                                    )               Civil Action No. 1:17-cv-2233
       v.                            )
                                     )
$47,000 IN U.S. FUNDS ASSOCIATED     )
WITH JP MORGAN CHASE ACCOUNT )
NOS. XXXXXX3282, XXXXX0170          )
                                     )
                                     )
             Defendant.             )


                                  NOTICE OF APPEARANCE

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, and Special Assistant United States Attorney Marina C. Stevenson,

hereby informs the Court that she is entering her appearance as co-counsel in this matter on

behalf of the United States.


                                             Respectfully submitted,

                                             JESSIE K. LIU
                                             United States Attorney
                                             D.C. Bar No. 472845


                                     BY:       /s/ Marina C. Stevenson
                                             Marina C. Stevenson
                                             Special Assistant United States Attorney
                                             D.C. Bar No. D00452
                                             Asset Forfeiture and Money Laundering Section
                                             555 4th Street, NW, Room 4816
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